                                   IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                           CHARLOTTE DIVISION
                                  CIVIL ACTION NO. 3:21-CV-00642-FDW-DSC


               STORE CHAIN INC ,                              )
                                                              )
                                 Plaintiff,                   )
                                                              )
               v.                                             )                    ORDER
                                                              )
               KARI KRASINSKI,                                )
                                                              )
                                Defendant.                    )



                      THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

              Affidavit [for Rick Voytas]” (document #2) filed December 1, 2021. For the reasons set forth

              therein, the Motion will be granted.


                      All counsel are advised that local counsel must sign all documents submitted to the Court

              and as such are accountable for the substance of such submissions under Rule 11 of the Federal

              Rules of Civil Procedure.


                      The Clerk is directed to send copies of this Order to counsel for the parties and to the

              Honorable Frank D. Whitney.


                      SO ORDERED.


Signed: December 1, 2021




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